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                         UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF OHIO
                            WESTERN DIVISION AT DAYTON

IN RE:
                                                        Case No: 18-31355
Bruce Merrill Slaton                                      (Chapter 13)
         Debtor                                          JUDGE BETH A. BUCHANAN
         CHAPTER 13 TRUSTEE'S MOTION TO DISMISS FOR MATERIAL DEFAULT
                           AND NOTICE OF HEARING
Now comes the Chapter 13 Trustee and moves the Court for an Order to Dismiss the
herein case pursuant to 11 U.S.C.§1307(c)(6) based on material default by the Debtor
with respect to a term of a confirmed plan.


The Trustee, in support of this Motion, states:

The Debtor has materially defaulted in the plan as the Trustee calculates that the plan
will not timely complete within the maximum of sixty (60) months, due to PNC Bank,
National Association filing a monthly mortgage payment of $ 707.67. The Debtor's plan
scheduled this payment at $600.00. Furthermore, the plan defaults due to PNC Bank,
National Association filing for mortgage arrears of $24,781.09. The Debtor's plan
scheduled this debt at $12,000.00.

WHEREFORE, the Chapter 13 Trustee moves the Court for an order dismissing the
herein case pursuant to 11 U.S.C.§1307(c)(6).

                                                  /s/ Jeffrey M. Kellner
                                              Jeffrey M. Kellner #0022205
                                              Chapter 13 Trustee
                                              131 N Ludlow St Suite 900
                                              Dayton, Oh 45402-1161
                                              (937) 222-7600 FAX (937) 222-7383
                                              email: chapter13@dayton13.com
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                                     NOTICE OF MOTION

Jeffrey M Kellner, Chapter 13 Trustee, has filed a Motion to Dismiss For Material Default .

Your rights may be affected. You should read these papers carefully and discuss them with
your attorney, if you have one in this bankruptcy case. If you do not have an attorney, you may
wish to consult one.

If you do not want the court to grant the relief sought in the Motion, then on or before
twenty-one (21) days from the date set forth in the certificate of service for the motion,
you must file with the court a response explaining your position by mailing your response by
ordinary U.S. Mail to Clerk, US Bankruptcy Court, 120 W Third St., Dayton, OH 45402 OR
your attorney must file a response using the court's ECF system .

The court must receive your response on or before the above date.

You must also send a copy of your response either by 1) the court's ECF system or by 2)
ordinary U.S. Mail to:


Bruce Merrill Slaton, 281 Imogene Rd, Dayton, OH 45405-5207

THOMAS D BERRY, 4630 SALEM AVE, DAYTON, OH 45416

Jeffrey M. Kellner, Chapter 13 Trustee, 131 N. Ludlow St., Suite 900, Dayton, OH 45402

Office of the U.S. Trustee, 170 North High St., Suite 200, Columbus, OH 43215


If you or your attorney do not take these steps, the court may decide that you do not oppose
the relief sought in the motion and may enter an order granting that relief without further
hearing or notice.

If a response is filed within the time provided above, then a hearing will be held on
NOVEMBER 20, 2018 at 1:30 PM at the U.S. Bankruptcy Court, 120 West Third St.,
Dayton, OH 45402 East Courtroom. If no reponse is filed within the time period provided,
then no hearing will be held and the Court may enter an order dismissing this case .
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                              CERTIFICATE OF SERVICE
I hereby certify that a copy of the Motion To Dismiss For Material Default was served
electronically on the date of the filing through the Court’s ECF System on all ECF
participants registered in this case at the email address registered with the Court and
by ordinary U.S. Mail on September 19, 2018 addressed to:


Bruce Merrill Slaton
281 Imogene Rd
Dayton, OH 45405-5207

                                     /s/ Jeffrey M. Kellner




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